 8:05-cr-00144-JFB-FG3          Doc # 20   Filed: 04/27/05   Page 1 of 1 - Page ID # 50




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )
                                             )
            vs.                              )                8:05CR144
                                             )
CURTIS THOMAS KEARNES,                       )         SCHEDULING ORDER
ELVIS PATRICK HENRY and                      )
JAMISON NACHEZ ROBINSON,                     )
                                             )
                   Defendants.               )


       IT IS ORDERED that the following is set for hearing on May 2, 2005 at
10:30 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

      - Initial Appearance/Arraignment on Indictment

     Since this is a criminal case, the defendants must be present, unless
excused by the Court.

      DATED this 27th day of April, 2005.

                                           BY THE COURT:


                                           s/ F.A. Gossett
                                           United States Magistrate Judge
